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                  Thomas-Jensen
                   Affirmation
                    (redacted)


                       Exhibit # 42
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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF RHODE ISLAND


  STATE OF NEW YORK; STATE OF
  CALIFORNIA; STATE OF ILLINOIS; STATE OF
  RHODE ISLAND; STATE OF NEW JERSEY;
  COMMONWEALTH OF MASSACHUSETTS;
  STATE OF ARIZONA; STATE OF COLORADO;
  STATE OF CONNECTICUT; STATE OF              C.A. No. 25-cv-39-JJM-PAS
  DELAWARE; THE DISTRICT OF COLUMBIA;
  STATE OF HAWAI’I; STATE OF MAINE; STATE
  OF MARYLAND; STATE OF MICHIGAN; STATE
  OF MINNESOTA; STATE OF NEVADA; STATE
  OF NORTH CAROLINA; STATE OF NEW
  MEXICO; STATE OF OREGON; STATE OF
  VERMONT STATE OF WASHINGTON; STATE
  OF WISCONSIN,

              Plaintiffs,

        v.

  DONALD TRUMP, IN HIS OFFICIAL CAPACITY
  AS PRESIDENT OF THE UNITED STATES; U.S.
  OFFICE OF MANAGEMENT AND BUDGET;
  MATTHEW J. VAETH, IN HIS OFFICIAL
  CAPACITY AS ACTING DIRECTOR OF THE
  U.S. OFFICE OF MANAGEMENT AND
  BUDGET; U.S. DEPARTMENT OF THE
  TREASURY; SCOTT BESSENT, IN HIS
  OFFICIAL CAPACITY AS SECRETARY OF THE
  TREASURY; PATRICIA COLLINS IN HER
  OFFICIAL CAPACITY AS TREASURER OF THE
  U.S.; U.S. DEPARTMENT OF HEALTH AND
  HUMAN SERVICES; DOROTHY A. FINK, M.D.,
  IN HER OFFICIAL CAPACITY AS ACTING
  SECRETARY OF HEALTH AND HUMAN
  SERVICES; U.S. DEPARTMENT OF
  EDUCATION; DENISE CARTER, IN HER
  OFFICIAL CAPACITY AS ACTING SECRETARY
  OF EDUCATION; U.S. FEDERAL EMERGENCY
  MANAGEMENT AGENCY; CAMERON
  HAMILTON, IN HIS OFFICIAL CAPACITY AS
  ACTING ADMINISTRATOR OF THE U.S.
  FEDERAL EMERGENCY MANAGEMENT

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  AGENCY; U.S. DEPARTMENT OF
  TRANSPORTATION;
  JUDITH KALETA, IN HER OFFICIAL
  CAPACITY AS ACTING SECRETARY OF
  TRANSPORTATION;
  U.S. DEPARTMENT OF LABOR; VINCE
  MICONE, IN HIS OFFICIAL CAPACITY AS
  ACTING SECRETARY OF LABOR; U.S.
  DEPARTMENT OF ENERGY; INGRID KOLB, IN
  HER OFFICIAL CAPACITY AS ACTING
  SECRETARY OF THE U.S. DEPARTMENT OF
  ENERGY; U.S. ENVIRONMENTAL
  PROTECTION AGENCY; JAMES PAYNE, IN HIS
  OFFICIAL CAPACITY AS ACTING
  ADMINISTRATOR OF THE U.S.
  ENVIRONMENTAL PROTECTION AGENCY;
  U.S. DEPARTMENT OF HOMELAND
  SECURITY; KRISTI NOEM, IN HER CAPACITY
  AS SECRETARY OF THE U.S. DEPARTMENT
  OF HOMELAND SECURITY; U.S.
  DEPARTMENT OF JUSTICE; JAMES R.
  McHENRY III, IN HIS OFFICIAL CAPACITY AS
  ACTING ATTORNEY GENERAL OF THE U.S.
  DEPARTMENT OF JUSTICE; THE NATIONAL
  SCIENCE FOUNDATION and DR.
  SETHURAMAN PANCHANATHAN, IN HIS
  CAPACITY AS DIRECTOR OF THE NATIONAL
  SCIENCE FOUNDATION,

                 Defendants.



                           DECLARATION OF SARAH REES, Ph.D.


                I, Sarah Rees, declare as follows:

        1.      I am a resident of the State of California. I am over the age of 18 and have

 personal knowledge of all the facts stated herein, except to those matters stated upon information

 and belief; as to those matters, I believe them to be true. If called as a witness, I could and would

 testify competently to the matters set forth below.



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        2.      I am currently employed by South Coast Air Quality Management District

 (“SCAQMD”) as Deputy Executive Officer, Planning, Rule Development and Implementation. I

 have more than 25 years of management experience in air quality and climate change matters at

 state and federal levels, including working for EPA, and have a Ph.D. in Engineering and Public

 Policy from Carnegie Mellon University. I also have a law degree from Rutgers University and

 have practiced environmental law as part of my professional career. In my capacity as Deputy

 Executive Officer I am responsible for planning and rule development related to stationary, area,

 and mobile sources, including development of the Air Quality Management Plan (attainment

 plan) for areas under the SCAQMD’s jurisdiction.

        3.      SCAQMD is responsible for monitoring and regulating air pollution in the major

 parts of Southern California’s Los Angeles, Orange, Riverside, and San Bernardino counties (see

 Title 17 of the California Code of Regulations, section 60104 (South Coast Air Basin) plus the

 Palm Springs Area of Riverside County.

        4.      As Deputy Executive Officer, Planning, Rule Development, and Implementation,

 I am aware of the federal grants the SCAQMD has received that are designed to further

 development and implementation of zero-emission or near-zero emission technologies and

 ultimately to reduce air pollution in the South Coast Air Basin.

        5.      Between 2021 and the present, SCAQMD applied for and was awarded a number

 of federal grants, including six that are currently frozen, and staff is unable to draw down on

 them. The total amount of grant funding for SCAQMD that is currently frozen amounts to more

 than $560 million, including nearly $500 million from the Climate Pollution Reduction Grant

 Program. I understand that the funds for these grant programs were appropriated by Congress as

 part of the Inflation Reduction Act of 2022 (P.L. 117-169) (“IRA”). Pursuant to Sections 132 to



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 138 of Title I of the Clean Air Act, enacted in 2022, and preexisting Sections 103 and 105, the

 EPA Administrator is required to implement various grant programs that Congress authorized

 under this program, including all six of the SCAQMD grants using now-obligated IRA funds that

 are discussed in paragraphs below.

        6.      True and accurate copies of pages one and two of the final grant award documents

 are attached hereto in compiled form in alphanumeric sequence as Exhibit A, each reflecting the

 date these award documents were executed. EPA General Terms and Conditions for grants

 generally apply based on the time of award. EPA General Terms and Conditions for time

 periods from October 1, 2014, up to the present are currently posted at the following website:

 https://www.epa.gov/grants/grant-terms-and-conditions.

        7.      The Climate Pollution Reduction Grant program, administered by the U.S.

 Environmental Protection Agency (EPA), grants funds to States, Tribes, and local governments

 to implement climate action plans to reduce greenhouse gas emissions. Recipients periodically

 submit eligible expenses incurred in carrying out their Climate Pollution Reduction Grant, up to

 the award amount. SCAQMD’s award is Grant Number 5E97T15501 (INVEST CLEAN) in the

 amount of $ 499,997,415 [over a period of five years, (2024-2029)].

        8.      SCAQMD’s Climate Pollution Reduction Grant implements zero-emission

 transportation measures related to the Southern California Goods Movement Corridor, covering

 the freight corridors, railyards, ports, and logistics hubs and warehouses of Los Angeles, Long

 Beach, Anaheim/Riverside, San Bernardino, and Ontario Metropolitan Statistical Areas. This

 grant funds battery-electric freight vehicles, locomotives, cargo handling equipment, and related

 charging infrastructure, as well as the development and training of the necessary workforce to

 implement, maintain, and sustain these zero-emission transportation measures. These activities



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 are anticipated to reduce greenhouse gas pollution by approximately 3.6 million metric tons of

 CO2-equivalent by 2030 and 11.7 million metric tons by 2050, with significant co-reductions of

 criteria and hazardous air pollutant impacts—including smog precursors, particulate matter, and

 air toxics like benzene and formaldehyde—on low-income disadvantaged communities situated

 within the goods movement corridor. These activities are also anticipated to support economic

 growth (including job creation) in these communities. According to SCAQMD staff

 calculations, cancellation of or delay of the programs funded by this grant would result in a loss

 of emission reductions of 1,615 tons per year (tpy) of nitrogen oxides (NOx), 28 tpy of

 particulate matter less than 2.5 micrograms in diameter (PM2.5), and 30 tpy of diesel particulate

 matter. If these emission reductions are not accomplished, there would be calculable public

 health harms according to accepted and peer-reviewed methods using epidemiology to assess the

 impacts of air quality. Specifically, if this grant were not accomplished, the foregone benefits

 are: avoidance of an average of 81 premature deaths per year and a total of 2,103 premature

 deaths from 2025 through 2050; 19 fewer asthma-related emergency visits annually; and 476

 fewer hospital admissions per year from all endpoints considered (asthma, cardiovascular,

 respiratory, Alzheimer’s disease, Parkinson’s disease, and ischemic stroke). In addition, loss of

 this grant would result in the loss of 470 new jobs in California and 4700 new jobs nationwide.

 In all these grants, there is a risk that our contractors and subcontractors may be unwilling to

 perform the work required, or to enter into new agreements, due to the uncertainty over whether

 they will timely or ever get paid for the work they perform.

        9.      SCAQMD has also received a grant funded by IRA (Public Law 117-169) under

 the Clean Heavy Duty Vehicles Program (called CARE4Kids), Grant Number 5797T31101, with

 a remaining balance of $24,842,547, which provides clean school buses for local school districts,



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 as well as workforce training. This grant is to be implemented over a period of two years (2025-

 2026). Delay or cancellation of this grant would result in loss of workforce training programs,

 career opportunities, and community education. In addition, it would result in an annual loss of

 605 metric tonnes of CO2-equivalent emissions (MTCO2e), 5 tpy of NOx, and 0.1 tpy of PM2.5.

 Moreover, students would still breathe emissions from dirtier school buses unless and until the

 program is reinstated.

        10.     SCAQMD has also received a grant funded by IRA (Public Law 117-169) under

 the Clean Heavy Duty Vehicles Program (called ELECTRIC), Grant Number 5Z97T31301, with

 a remaining balance of $33,898,451.93. This grant provides funding for replacement of diesel

 heavy-duty vehicles with zero-emission heavy-duty vehicles, as well as workforce training, and

 is to be implemented over a period of two years (2025-2026). If this grant were delayed or

 cancelled, the SCAQMD region would annually lose emission reductions amounting to 599,236

 MTCO2e, over 14.5 tpy NOx, over 0.25 tpy PM2.5, and over 0.38 tpy diesel particulate matter.

 In addition, the region would lose workforce training opportunities, career awareness, and

 community education opportunities. Finally, if the grant is cancelled, the SCAQMD would lose

 expenses incurred in staff time in developing the programs to be implemented under this grant.

        11.     These projects are essential to reducing nitrogen oxides, a key precursor of both

 ozone and particulate matter. Without these reductions, which are scheduled to be obtained from

 mobile sources, SCAQMD will have to seek equivalent reductions from other sources and revise

 its plan for attaining the ozone and PM2.5 standards. As detailed in the SCAQMD’s last Air

 Quality Management Plan for meeting national health standards, it will be extremely difficult if

 not impossible to find additional reductions. In fact, SCAQMD has calculated that if there are no

 further reductions from ships, locomotives, and aircraft, all of which are primarily under EPA’s



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 control, pollution from these three sources alone would preclude attainment of the 2015 ozone

 standard. Moreover, the delay in reducing pollution would adversely affect public health among

 residents of the region.

        12.     SCAQMD also received a grant funded by IRA (Public Law 117-169) entitled

 Section 103 IRA AM Equipment Only, Grant No. 5A98T63601, which provides funding for

 equipment for air quality monitoring that is required by EPA. This grant has a remaining balance

 of $306,013.32 and is to be implemented over a period of two years (7-1-23 to 6-30-25.) This

 grant is being used to support the State and Local Air Monitoring Stations Network (SLAMS)

 required by EPA. It is critical for determining air quality and progress towards meeting the

 national ambient air quality standards, as required by the Clean Air Act. Without this funding, it

 would be much more difficult to fulfill our agency’s monitoring obligations under the Clean Air

 Act.

        13.     SCAQMD also received a grant funded by IRA (Public Law 117-169) entitled

 Multipollutant Air Monitoring, Grant No. 5T9T21901, which is to be implemented over a period

 of 5 years (10-1-24 to 9-30-29). This grant provides additional funding for the SLAMS air

 monitoring program. This grant has a remaining balance of $1,210,708.00 and is equally critical

 to our ability to carry out required monitoring.

        14.     SCAQMD has also received a grant funded by IRA (Public Law 117-169) entitled

 “Empowering Community Based Monitoring-Sensor Library” that is to be implemented over a

 period of three years (5/1/23 to 6/30/26). This grant has a remaining balance of $498,156.56,

 which is intended to allow community groups the ability to deploy inexpensive air quality

 sensors in their area, so they can improve their awareness of air quality and take precautionary

 measures if necessary. Loss or delay of these funds would impact the ability of the residents of



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 SCAQMD to use localized sensors and take precautions during periods of poor air quality.

 Moreover, EPA identified this project as exploring the use of low-cost sensors for regulatory

 purposes, thus potentially making air quality monitoring more cost-effective and increasing the

 ability to cover a variety of localized areas. Loss of this project could impede progress toward

 more effective air monitoring.

        15.     I have reviewed President Trump’s executive order titled “Unleashing American

 Energy,” dated January 20, 2025 (“Energy EO”). I first became aware of the Energy EO on

 January 21, 2025. It is my understanding that Section 7 of the Energy EO orders all agencies to

 “immediately pause the disbursement of funds appropriated through the Inflation Reduction Act

 of 2022 (Public Law 117-169) or the Infrastructure Investment and Jobs Act (Public Law 117-

 58).” I understand that the funds and disbursements targeted in the Energy EO include

 disbursements to SCAQMD under our current federal funding sources, described above.

        16.     I have reviewed the Memorandum for Heads of Executive Departments and

 Agencies, M-25-13, dated January 27, 2025, issued by the Executive Office of the President of

 the United States, Office of Management and Budget, Matthew J. Vaeth, Acting Director,

 regarding “Temporary Pause of Agency Grant, Loan, and Other Financial Assistance Programs”

 (“OMB Memo”). I first became aware of the OMB Memo on January 28, 2025. It is my

 understanding that the OMB Memo requires all federal agencies to “pause” all activities related

 to disbursement of all federal financial assistance, which I understand would include

 disbursements to SCAQMD under our current federal funding sources, described above. In

 addition, SCAQMD has received about 35 other federal grants that, while not funded by IRA,

 would be frozen by the OMB Memo, bringing a wide variety of air quality programs to a halt.




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            17.   SCAQMD’s budget for Fiscal Year 2024-2025 has relied on funding from Clean

  Air Act section 103 and 105 federal grants based on the funding levels from SCAQMD’s then-

  current federal grants, and section 103 grant monies are among those impacted by the grant

  freeze, specifically: 5A98T63601-“Inflation Reduction Act – CAA Special Purpose Activities”;

  5X98T58401-“Inflation Reduction Act -CAA Special Purposed Activities”; and 5T97T21901-

  “Inflation Reduction Act – Multipollutant Air Monitoring.” These grant awards had an available

  balance of more than $2 million combined. SCAQMD has already been unable to access

  disbursements to which it is entitled under the IRA. On the morning of January 28, 2025, at

  approximately 9:23 AM Pacific Standard Time, access-credentialed staff of SCAQMD logged

  into the Automated Standard Application for Payments (ASAP), the federal government’s

  electronic system for transferring money to grant recipients, including SCAQMD. SCAQMD

  staff then observed that all federal grants remained accessible as normal. By the afternoon of

  January 28, 2025, at approximately 4:52 PM Pacific Standard Time, access-credentialed staff of

  SCAQMD reexamined the status of EPA grants and noticed that several of grant awards were no

  longer accessible in ASAP. Upon further investigation, staff of the Finance Office of SCAMD

  confirmed that the funding for our federal IRA grants has been removed from ASAP, meaning

  SCAQMD cannot draw down against these grants to pay for any work performed under these

  grants.

            18.   Attached as Exhibit B is a true and correct screen capture of the ASAP portal as it

  appeared on morning of January 28, 2025, except it shows the addition of highlights on the six

  accounts that are the focus of this declaration. The rows on Exhibit B correspond to federal

  awards that SCAQMD has received, which can be accessed for drawdowns to reimburse




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  ASAP system. I also do not understand why accounts                    and

  (corresponding with the CHDV CARE4Kids and CHDV Electric awards) were listed as

  previously suspended.

         21.      It is my understanding that the balances in these grant accounts corresponded to

  funds Congress appropriated in the IRA for the purpose of carrying out grant programs codified

  in the Clean Air Act, which were duly apportioned and obligated to SCAQMD.

         22.      The disablement of the ASAP reimbursement system for these grants with certain

  accounts branded “suspended” imposes substantial uncertainty for SCAQMD and its subgrantees

  and partners in the implementation of grant awards. On February 3, 2024, EPA staff contacts

  cancelled previously scheduled meetings for discussions on grant account                  and

                  While on the afternoon of February 4, 2024, EPA staff made outreach to try to un-

  cancel and reschedule a meeting on 5E97T15501, this follows several weeks where other

  meetings had been cancelled by EPA, and where EPA staff indicated an inability to discuss

  grants or other EPA work

         23.      Any further pause in our federal funding will threaten the postponement or

  possible full derailment of major projects that are needed to significantly reduce air pollution and

  otherwise advance clean air objectives in the South Coast Air Basin. Across multiple grants,

  SCAQMD now has open commitments (e.g., purchase orders for delivery of equipment or

  performance of work or service by vendors, including several exceeding $100,000), pending

  invoices, contracts under work or pending execution, as well as claims that are ready or near-

  ready for drawdown that are being frustrated by the evident freeze on funding. For example, for

  grant account               , SCAQMD has a claim for reimbursement for $5,704.89 in incurred




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                             Declaration of Sarah Rees, PhD

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                             Declaration of Sarah Rees, PhD

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                             Declaration of Sarah Rees, PhD

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